                    Case 2:09-cr-00090-WHA-CSC Document 367 Filed 07/01/10 Page 1 of 5
AD 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                            Middle District of Alabama

              UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V.


                 BARBARA LYNN GIPSON                                                 Case Number:           2:09cr090-WHA-1 1

                                                                                     USM Number:            0885 7-002

                                                                           )                      Andrew M.Skier
                                                                                     Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)           13-14 of the Indictment on September 2, 2009

LI pleaded nob contendere to count(s)
   which was accepted by the court.
LI was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended             Count
18:513(a) & 18:2                 Possession or utterance of forged security; aiding & abetting                     10/10/08                13
18:513(a) & 18:2                 Possession or utterance of forged security; aiding & abetting                     10/10/08                14




       The defendant is sentenced as provided in pages 2 through                 5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LI The defendant has been found not guilty on count(s)

X Count(s)      1 of the Indictment                      X is      LI are dismissed on the motion of the United States.

         It is ordered that the defendant must notify' the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                 June 30, 2010
                                                                          Date of Imposition of Judgment




                                                                          W. Harold Albrittori, Senior U. S. District Judg
                                                                          Name and Title of Judge



                                                                          Date
                       Case 2:09-cr-00090-WHA-CSC Document 367 Filed 07/01/10 Page 2 of 5
AU 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 4—Probation

                                                                                                            Judgment—Page      2     of        5
DEFENDANT:                     BARBARA LYNN GIPSON
CASE NUMBER:                   2:09cr090-WHA- 11
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:

FIVE (5) years. This term consists of five years on Count 13 and five years on Count 14, such terms to runconcurrently.




The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, ([applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ([applicable.)
X The defendant shall cooperate in the collection of DNA. (Check, f applicable.)
         The defendant shall comply with the req1irements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualif,'ing offense. (Check, if applicable.)
L        The defendant shall participate in an approved program for domestic violence. (Check, ([applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARI CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notif' the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons en o aged in criminalactivity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the proation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                 Case 2:09-cr-00090-WHA-CSC Document 367 Filed 07/01/10 Page 3 of 5
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                         Judgment—Page _3     of      5
DEFENDANT:               BARBARA LYNN GIPSON
CASE NUMBER:             2:09cr090-WHA- 11

                                        SPECIAL CONDITIONS OF SUPERVISION

Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
                      Case 2:09-cr-00090-WHA-CSC Document 367 Filed 07/01/10 Page 4 of 5
AG 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment - Page     4      of
DEFENDANT:                           BARBARA LYNN GIPSON
CASE NUMBER:                         2:09cr090-WHA-1 I
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                          Fine                                  Restitution
TOTALS              $ 200.00                                             $ -0-                                 S 11,313.09


LI The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

LI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                   Total Loss*                          Restitution Ordered                      Priority or Percenta2e
Alfa Mutual Insurance Co.                                                                $ 6,900.99
Attn: Greg Venable, Audit Services
P. 0. Box 11000
Montgomery, AL 36191
Claim No. 6380045794

Zurich Surety and Financial                                                               $4,412.10
  Claims Restitution
Attn: Helen Rasmussen
P. 0. Box 17022-MDI-05-04
Baltimore, MD
Claim No. 6380045794




TOTALS                               $                                           $         11,313.09


LI Restitution amount ordered pursuant to plea agreement $


L The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 1 8 U.S.C. § 3612(g).

X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      X the interest requirement is waived for the               LI fine X restitution.
      LI the interest requirement for the              LI fine     LI restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                     Case 2:09-cr-00090-WHA-CSC Document 367 Filed 07/01/10 Page 5 of 5
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments

                                                                                                                   Judgment - Page       5      of          5
DEFENDANT:                    BARBARA LYNN GIPSON
CASE NUMBER:                  2:09cr090-WHA-1 I


                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A X Lump sum payment of$ 11,513.09                                     due immediately, balance due

            J   not later than                                              , or
           x in accordance                  U C,           1 D,               E, or   X F below; or

 B    El Payment to begin immediately (may be combined with                           C,      LII D, or        F below); or

C          Payment in equal                       (e.g. weekly, monthly, quarterly,) installments of $                            over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                      ----- over a period of
          -- ------------------------(e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     X Special instructions regarding the payment of criminal monetary penalties:
                      Payment shall be made to the Clerk, U. S. District Court, P. 0. Box 711, Montgomery, AL 36101.
                      Any balance remaining at the start of supervision shall be paid at the rate of not
                      less than $100 per month.



Unless the court has expressly ordered otherwise, if th isj udgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




El The defendant shall pay the cost of prosecution.

El The defendant shall pay the following court cost(s):

El The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
